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 6                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
 7
                                                 4:24-CR-6017-MKD-1
 8   UNITED STATES OF AMERICA,
                                                 INDICTMENT
 9                             Plaintiff,
                                                 Vio.: 21 U.S.C. §§ 841(a)(1),
10                v.                                   (b)(1)(B)(vi), 846,
                                                       Conspiracy to Distribute 40
11   ANTONIA R. LEAL and                               Grams or More of Fentanyl
                   ,
12
                            Defendants.                 21 U.S.C. § 853
13                                                      Forfeiture Allegations

14         The Grand Jury charges:

15         Beginning on a date unknown, but by on or about February 2024, and

16 continuing to June 2024, in the Eastern District of Washington and elsewhere, the

17 Defendants, ANTONIA R. LEAL and                             , and other individuals

18 both known and unknown to the Grand Jury, did knowingly and intentionally

19 combine, conspire, confederate and agree together with each other to commit the

20 following offense: distribution of 40 grams or more of a mixture or substance

21

     INDICTMENT – 1
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 1 containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

 2 propenamide (a/k/a fentanyl), a Schedule II controlled substance, in violation of 21

 3 U.S.C. § 841(a)(1), (b)(1)(B)(vi), all in violation of 21 U.S.C. § 846.

 4                  NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

 5         The allegations set forth in this Indictment are hereby realleged and

 6 incorporated by reference for the purpose of alleging forfeitures.

 7         Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of

 8 21 U.S.C. §§ 841, 846, as set forth in this Indictment, the Defendants, ANTONIA R.

 9 LEAL and                            , shall forfeit to the United States of America, any

10 property constituting, or derived from, any proceeds obtained, directly or indirectly, as

11 the result of such offense and any property used or intended to be used, in any manner

12 or part, to commit or to facilitate the commission of the offense.

13         If any forfeitable property, as a result of any act or omission of the Defendants:

14         a.    cannot be located upon the exercise of due diligence;

15         b.    has been transferred or sold to, or deposited with, a third party;

16         c.    has been placed beyond the jurisdiction of the court;

17         d.    has been substantially diminished in value; or

18         e.    has been commingled with other property which cannot be divided

19               without difficulty,

20         ///

21

     INDICTMENT – 2
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 1 the United States of America shall be entitled to forfeiture of substitute property

 2 pursuant to 21 U.S.C. § 853(p).

 3         DATED this _____ day of June, 2024.

 4                                             A TRUE BILL

 5

 6                                             __________________________
                                               Foreperson
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     INDICTMENT – 3
